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  December 5,2018       ^
                                                                RECEIVED
  Hon. LaShann DeArcy Hall
  U.S. District Court
  Eastern District of New York
                                                                      DEC 1 2 2018
  225 Cadman Plaza B,
  Brooklyn,NY 11201                                                    Chambers of the
                                                                Honorable LaShann DeArcy M;!!! [


        Re: Portelos V Hill et al, 12 CV 3141(LDH)(VMS)Objection to Magistrate Scanlon's
  Report and Recommendation for Bill of Costs

  Dear Honorable Judge DeArcy Hall:

         I am the pro se plaintiff in the above-captioned case. I write to respectfully o )ject Magistrate

  Scanlon's Recommendation and Report regarding the Bill of Costs in my case (12 CV 3141 Docket

  168). While I welcomed Magistrate Scanlon's significant reduction ofthe amount ofcosts owed by me,

  I believe the arguments below further show that $6,060.78 is still inappropriate for me to pay the City

  of New York.


         Pursuant to 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b)I am respectfully objecting to the above
                                                                                             i




  reference Report and Recommendation."A judge of the court may accept, reject, or niodify, in whole

  or in part, the findings or recommendations made by the magistrate judge. The judge may also receive

  further evidence or recommit the matter to the magistrate judge with instructions."

         I would like to provide further evidence of why the Defendants Bill of Costs request should be

  reduced and/or denied.


         On page 6 of her Report and Recommendation, Magistrate Scanlon states that              .Plaintiff fails


  to carry his burden to establish that the trial transcript was not reasonably necessary for Defendants to

  obtain for the appeal.^'' Magistrate Scanlon associated footnote 3 to her statement regarding reducing the

  trial transcript costs by fifty percent to $4,839.42. Footnote 3 states"The parties did not provide the non-

  expedited rate for the transcript is, so it has reduced the expedited rate of $9,678.84 by fifty percent."

  While looking through my email exchanges with the two court reporters involved in my trial, Stacy

  Mace and Joshua Edwards, I found that the non-expedited rate was actually $1.20 per page. Please See
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  Exhibit A annexed hereto. The trial transcripts were 1200 pages and therefore totaled $1,440 instead of

  $4,839.42. However, since the Defendants also did not proffer any evidence that they used the trial

  transcripts for an appeal,the cost oftrial transcripts should be denied entirely. See Declaration ofJessica

  Giambrone paragraph 20 where there is no mention of use of transcripts in an appeal. "Defendant

  submits a bill for the costs of the trial transcripts necessarily obtained for the purpose of cross-

  examinations at trial, addressing legal issues raised and resolved during the trial and summation.

  Defendants are entitled to these cost(sp?) in the amount of$9,678.84 as the prevailing party."

         This leaves the cost of my deposition, which Magistrate Scanlon reduced to $1,221.36. Courts

  have denied bill of costs where prevailing party has engaged in misconduct. Sallev v. E.I. DuPont de

  Nemours d Co.. 966 F.2d 1011. 1013 {5th Cir. 1992)(finding of inappropriate behavior by plaintiffs'

  counsel justified denial of costs to prevailing plaintiff). My deposition ran past the allowable 1 day or 7

  hours indicated in FRCP Rule 30.1 was deposed 3 times in excess of7 hours. As stated in my opposition

  to the bill ofcosts, gross evidence of potentially sanctionable attorney misconduct took place when Ms.

  Giambrone knowingly testified for witness Richard Candia. During his deposition Ms.Giambrone stated

  that my school's Comprehensive Education Plan(CEP),that Defendant Principal Linda Hill submitted

  without the proper approval, wasjust a "draft." This issue was a main argument of protected speech we
  argued. See excerpt of FCRP Rule 30 violation below:

                           1                                R. CANOIA


                           2                    A.   I don't know if he was

                           3            disple«s*d about that.

                           4                 <1-     Was that your iopress<on of

                           5            what happ*R«d that sht subaitttd It without

                           6           "




                           7                         RS. CIARBRffitE:   She subsfttbd a

                           8                    draft T-

                           9                    A.   She suboitted a draft.    So.

                          10            there was    still opportunity to make final

                          11            ehanses.

                          12                Q        Did she say it was a draft?

                          13                A.       She did say it was a draft.

                          14            yeah.




                                                             2
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         Furthermore,on several occasions attorney Jessica Giambrone would make false and potentially

  sanctionable statements that certain discovery emails relating to me did not exists. She did this for both

  email accounts ofExecutive Director of Human Resources Andrew Gordon and Katherine Rodi. In both

  instances I had to pay for additional conferences with Magistrate Scanlon to remedy these discovery

  issues. Ultimately, when ordered to go back and search again,over 1,400 pages ofemails surfaced. Fault

  ofprevailing party required for denial ofcosts. Smith v. Southeastern Pa. Transp. Auth.J 47 F.3d 97,99-
  100 (3d Cir. 1995) "prevailing party entitled to costs unless award would be inequitable based on

  conduct of prevailing party". In re Paoli R.R. Yard PCB Litis.. 221 F.Sd 449. 463, 468(3d Cir. 2000)

  "court may consider losing party's inability to pay, as well as prevailing party's unclean hands, bad

  faith, dilatory tactics, or other misconduct in action in reducing or denying costs". See also Weeks v.

  Samsuns Heavy Indus. Co.. Ltd.. 126 F.Sd 926, 944—945 {7th Cir. 1997)(generally, district court must

  award costs to prevailing party unless(1)prevailing party has engaged in misconduct worthy ofpenalty,

  or(2)losing party is unable to pay costs); Consresation ofthe Passion v. Touche. Ross & Co.. 854 F.2d

  219. 222(7th Cir. 1988)"generally, only misconduct by prevailing party worthy of penalty or inability

  to pay will justify denial of costs to prevailing party".

         Rule 54(d)(1)does not expressly state whether the discretion granted to the district court to deny

  costs to the prevailing party also permits the court to tax costs against the prevailing party. Nevertheless,

  when the prevailing party is guilty of some significant misconduct worthy of sanctions, the court may

  exercise its discretion under Rule 54(d)(1)and order the prevailing party to pay some or all ofthe costs

  ofthe action. Sheets v. Yamaha Motors Corp.. 891 F.2d 553. 539-540(5th Cir. 1990)"misconduct, bad

  faith, and abuse oftrial processjustify not only denial ofcosts to prevailing defendants, but also provide

  suitable basis for taxing costs against those defendants"; but see Three-Seventy Leasing Corp. v. Amvex

  Corp.. 528 F.2d993. 999(5th Cir. 1976)"Rule 54(d)does not authorize award ofcosts to nonprevailing

  party, but only gives court discretion to order that each party bear part or all of its own costs".
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     Defendants' misconduct throughout case should assist the Court in taxing costs against Defendants and

     denying the bill of costs.

             For all these reasons stated above, I respectfully request that the bill of costs be denied and this

case come to a final close.




     Respectfully Submitted:



     Francesco Alexander Portelos

     Plaintiff,pro se

     Date: December 5,2018
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r




                                          AFFIRMATION OF SERVICE


            I, FRANCESCO PORTELOS,declare under penalty of peijury that I have served a copy ofthe

            opposition to the report and recommendation on opposing counsel,

            whose address is 100 CHURCH ST. 4"^" PL., NY,NY 10007

            by the following method:

            Check one


                  US Mail.

              X    Electronic Mail.


                  Fed Ex, UPS,or other private carrier.

            Dated: December 6,2018

            Staten Island, NY




                                                 FRANCESCO PORTELOS


                                                 52 WIMAN PL
                                                 STATEN ISLAND,NY 10305
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                                               EXHIBIT A




                     * * * TRANSCRIPT INVOICE * * *
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     Date:            March 6,2017

     To:              Francesco Portelos
                      via e-mail; mrportelos@gmail.com



     CASE INFORMATION:
     Case:            Portelos v. CNY,et al.
     Index No:        12-CV-3141
     Hearing date:    8/23/2016
     Transcript:      Civil Cause on Trial
     Judge:           Honorable LaShann DeArcy Hall

    TRANSCRIPT INFORMATION:
    Total pages:      62
    Rate:             $1.20(copy)
    TOTAL DUE:        $74.40

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^             Stacy Mace                                          ^
              to me,Stacy
              9/12/2016 View details


    Mr. Portelos,

    The remaining three days of trial transcripts are a
    total of 523 pages. Actual trial days are 8/18/^016
    and 8/19/2016 and then the final day, includingithe
    verdict is 8/23/2016. The cost is $1.20 per page
    and will be emailed to you in PDF format as were
    the prior days.

    Total cost for all three days is $627.60.

    Please confirm receipt and advise what you would
    like to do. If you want to proceed with the orderj I
    will send you in invoice with instructions regarding
    payment.

    Thanks - Stacy




    Stacy A. Mace, Official Court Reportei;
    United States District Court - Eastern
    District of New York
    225 Cadman Plaza East, Room N363
    Rrnnklvn Npw Ynrk 11901-1839
